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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
              v.                            :       Case No. 1:21-cr-00259-TSC
                                            :
MARK K. PONDER,                             :
                                            :
                      Defendant.            :


                         NOTICE OF ATTORNEY APPEARANCE


       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is assigned to Trial

Attorney Michael J. Romano, detailed to the United States Attorney’s Office for the District of

Columbia, who may be contacted by telephone at (202) 307-6691 or by email at

michael.romano@usdoj.gov. This is notice of his appearance in this matter on behalf of the United

States. Mr. Romano joins Jocelyn Bond, who remains assigned to the case.



                                            Respectfully submitted,

                                            CHANNING D. PHILLIPS
                                            Acting United States Attorney
                                            DC Bar No. 415793


                                     By:          /s/
                                            MICHAEL J. ROMANO
                                            Trial Attorney, Detailee
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                                            michael.romano@usdoj.gov
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                                 CERTIFICATE OF SERVICE

       On this 8th day of October, 2021, a copy of the foregoing was served on counsel for the

defendant via the court’s Electronic Filing System


                                                     /s/ Michael J. Romano
                                                     Michael J. Romano




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